         Case 3:17-cv-05769-RJB           Document 84         Filed 06/13/18               Page 1 of 7




 1                                                                       The Honorable Robert J. Bryan

 2

 3

 4

 5

 6

 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT TACOMA

 9   UGOCHUKWU GOODLUCK
     NWAUZOR, FERNANDO AGUIRRE-                             No. 17-cv-05769-RJB
10   URBINA, individually and on behalf of all
     those similarly situated,                              FIRST AMENDED CLASS
11                                                          ACTION COMPLAINT FOR
                                    Plaintiffs,             DAMAGES
12
            v.
13
     THE GEO GROUP, INC., a Florida
14   corporation,

15                                   Defendant.

16
                                     I.    NATURE OF ACTION
17
            1.1.    Plaintiffs bring this class action on behalf of all civil immigration detainees
18
     who performed work for The GEO Group, Inc. (“GEO”) at its Northwest Detention Center
19
     (“NWDC”) in Tacoma, Washington at any time during the three years prior to the filing of
20
     the initial complaint in this action and thereafter.
21
            1.2.     Plaintiffs seek to recover wages under the Washington Minimum Wage Act
22
     (“MWA”), RCW 49.46, et seq., as well as other damages allowable under state law, for the
23
     wages that GEO denied them and the class they represent.
24

25   FIRST AM. CLA SS A CTION CO MP L.                        SCHROETER GOLDMARK & BENDER
                                                                 810 Third Avenue ● Suite 500 ● Seattle, WA 98104
     (17-cv-05769-RJB)  1                                          Phone (206) 622-8000 ● Fax (206) 682-2305

26
        Case 3:17-cv-05769-RJB                Document 84      Filed 06/13/18                Page 2 of 7




 1
                                 II.    JURISDICTION AND VENUE
 2
            2.1.      This   Court      has    jurisdiction   of   Plaintiffs’           claims          pursuant     to
 3
     28 U.S.C. § 1332(d). The class that Plaintiffs propose to represent includes more than 100
 4
     members, one or more members of the putative class are citizens of a foreign state or a
 5
     different State than Defendant, and the amount in controversy in the matter exceeds the sum
 6
     of $5,000,000.
 7
            2.2.      Venue is proper in this district because all or a substantial part of the relevant
 8
     acts and omissions alleged herein took place in Pierce County in the Western District of
 9
     Washington.
10
                                               III.   PARTIES
11
            3.1.      Plaintiff Ugochukwu Goodluck Nwauzor resides in Kent, Washington, and
12
     was detained at NWDC in Tacoma, Washington, from approximately February 2016 until
13
     January 2017. Mr. Nwauzor is a citizen of Nigeria, but was granted asylum by the United
14
     States in approximately January 2017.
15
            3.2.      Plaintiff Fernando Aguirre-Urbina resides at NWDC in Tacoma, Washington,
16
     where he has been detained since around September 2012. Mr. Aguirre-Urbina is a citizen of
17
     Mexico.
18
            3.3.      Defendant GEO is a for-profit corporation incorporated under the laws of
19
     Florida and transacting business in Pierce County, Washington. GEO is an employer under
20
     the MWA.
21
                                  IV.    FACTUAL ALLEGATIONS
22
            4.1.      GEO is a for-profit corporation providing correctional, detention, and
23
     community reentry services. GEO’s 2016 revenues were over $2 billion, and its stock is
24

25   FIRST AM. CLA SS A CTION CO MP L.                         SCHROETER GOLDMARK & BENDER
                                                                   810 Third Avenue ● Suite 500 ● Seattle, WA 98104
     (17-cv-05769-RJB)  2                                            Phone (206) 622-8000 ● Fax (206) 682-2305

26
         Case 3:17-cv-05769-RJB          Document 84        Filed 06/13/18               Page 3 of 7




 1   publicly traded on the New York Stock Exchange.

 2          4.2.    Since 2005, GEO has owned and operated NWDC, which is a 1,500 bed

 3   immigration detention facility in Tacoma, Washington.

 4          4.3.    GEO contracts with the U.S. Immigration and Customs Enforcement (“ICE”)

 5   for the detention of adult civil detainees, who are awaiting resolution of various immigration

 6   matters. GEO’s contract with ICE requires GEO to comply with state and local laws.

 7          4.4.    Rather than hire from the local workforce, GEO relies upon captive detainee

 8   workers to clean, maintain, and operate NWDC.

 9          4.5.    GEO’s NWDC Detainee Handbook describes detainee work assignments as

10   including kitchen and laundry work, as well as recreation/library/barber and janitorial

11   services. The Handbook refers to these various tasks as “work” and a “job,” and references

12   “wages earned” by detainee “workers.”

13          4.6.    The detainee workers are “employees,” and GEO is an “employer” under

14   Washington’s minimum wage laws. GEO employed and continues to employ the detainee

15   workers by engaging, suffering, or permitting them to work on its behalf.

16          4.7.    For all of the labor they perform, GEO pays each detainee worker only $1 per

17   day, regardless of the number of hours they worked.

18          4.8.    In some cases, GEO does not pay detainee workers at all, compensating them

19   instead with more and better food than the facility’s standard fare.

20          4.9.    GEO does not pay and has not paid detainee workers the state minimum wage

21   for the hours they worked at NWDC.

22          4.10.   Plaintiffs have performed work for GEO at NWDC and have not been paid the

23   state minimum wage for the work they performed.

24

25   FIRST AM. CLA SS A CTION CO MP L.                      SCHROETER GOLDMARK & BENDER
                                                               810 Third Avenue ● Suite 500 ● Seattle, WA 98104
     (17-cv-05769-RJB)  3                                        Phone (206) 622-8000 ● Fax (206) 682-2305

26
         Case 3:17-cv-05769-RJB            Document 84         Filed 06/13/18              Page 4 of 7




 1          4.11.   The current hourly minimum wage in Washington is $11.50 per hour.

 2          4.12.   GEO’s pay policies violate Washington minimum wage laws.

 3                                  V.     CLASS ALLEGATIONS

 4          5.1.    Plaintiffs seek to represent all civil immigration detainees who perform or

 5   have performed work for GEO at NWDC at any time during the three years prior to the filing

 6   of the initial complaint in this matter and thereafter.

 7          5.2.    This action is properly maintainable as a class action under Fed. R. Civ. P.

 8   23(a) and (b)(3).

 9          5.3.    Pursuant to Rule 23(a)(1), the class as described is so numerous it is

10   impracticable to join all of the class members as named Plaintiffs.

11          5.4.    Pursuant to Rule 23(a)(2), there are common questions of law and fact

12   including, but not limited to, whether (a) GEO is an “employer” under the MWA, (b) the

13   detainee workers are “employees” under the MWA, and (c) whether GEO violated the MWA

14   by failing to pay detainee workers the statutory minimum wage.

15          5.5.    Pursuant to Rule 23(a)(3), the named Plaintiffs’ claims are typical of the

16   claims of all class members and of GEO’s anticipated defenses to their claims.

17          5.6.    The named Plaintiffs will fairly and adequately protect the interests of the

18   class as required by Rule 23(a)(4).

19          5.7.    Pursuant to Rule 23(b)(3), class certification is appropriate here because

20   questions of law or fact common to members of the class predominate over any questions

21   affecting only individual members and because a class action is superior to other available

22   methods for the fair and efficient adjudication of this controversy.

23

24

25   FIRST AM. CLA SS A CTION CO MP L.                         SCHROETER GOLDMARK & BENDER
                                                                 810 Third Avenue ● Suite 500 ● Seattle, WA 98104
     (17-cv-05769-RJB)  4                                          Phone (206) 622-8000 ● Fax (206) 682-2305

26
        Case 3:17-cv-05769-RJB             Document 84          Filed 06/13/18              Page 5 of 7




 1                                       VI.   LEGAL CLAIM

 2                 VIOLATION OF THE WASHINGTON MINIMUM WAGE ACT

 3          6.1.     Plaintiffs and the proposed class members are “employees” under

 4   RCW 49.46.010(3).

 5          6.2.     Defendant is an “employer” within the meaning of RCW 49.46.010(4).

 6          6.3.     Defendant’s practice of paying subminimum wages to Plaintiffs and the

 7   proposed class members violates RCW 49.46.020.

 8          6.4.     Plaintiffs and the proposed class have been harmed by Defendant’s practice of

 9   paying subminimum wages, and they are entitled to damages in amounts to be proven at trial.

10                                  VII. RELIEF REQUESTED

11          In light of the above, Plaintiffs pray that the Court grant them the following relief:

12          1.       Certify this case as a class action;

13          2.       Damages for lost wages in amounts to be proven at trial;

14          3.       Attorneys’ fees and costs pursuant to RCW 49.46.090 and RCW 49.48.030;

15          4.       Prejudgment interest; and

16          5.       Such other relief as is just and proper.

17          DATED this 13th day of June, 2018.

18                                               SCHROETER GOLDMARK & BENDER
                                                 s/ Jamal N. Whitehead
19                                               Adam J. Berger, WSBA #20714
                                                 Lindsay L. Halm, WSBA #37141
20                                               Jamal N. Whitehead, WSBA #39818
                                                 810 Third Avenue, Suite 500
21                                               Seattle, WA 98104
                                                 Tel: (206) 622-8000
22                                               Fax: (206) 682-2305
                                                 berger@sgb-law.com
23                                               halm@sgb-law.com
                                                 whitehead@sgb-law.com
24

25   FIRST AM. CLA SS A CTION CO MP L.                          SCHROETER GOLDMARK & BENDER
                                                                  810 Third Avenue ● Suite 500 ● Seattle, WA 98104
     (17-cv-05769-RJB)  5                                           Phone (206) 622-8000 ● Fax (206) 682-2305

26
        Case 3:17-cv-05769-RJB    Document 84         Filed 06/13/18               Page 6 of 7




 1
                                         THE LAW OFFICE OF R. ANDREW FREE
 2                                       Andrew Free (Admitted Pro Hac Vice)
                                         PO Box 90568
 3                                       Nashville, TN 37209
                                         Tel: (844) 321-3221
 4                                       Fax: (615) 829-8959
                                         andrew@immigrantcivilrights.com
 5
                                         SUNBIRD LAW, PLLC
 6                                       Devin T. Theriot-Orr, WSBA # 33995
                                         1001 Fourth Avenue, Suite 3200
 7                                       Seattle, WA 98154-1003
                                         Tel: (206) 962-5052
 8                                       Fax: (206) 681-9663
                                         devin@sunbird.law
 9
                                         Attorneys for Plaintiffs
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25   FIRST AM. CLA SS A CTION CO MP L.                SCHROETER GOLDMARK & BENDER
                                                         810 Third Avenue ● Suite 500 ● Seattle, WA 98104
     (17-cv-05769-RJB)  6                                  Phone (206) 622-8000 ● Fax (206) 682-2305

26
         Case 3:17-cv-05769-RJB          Document 84      Filed 06/13/18               Page 7 of 7




 1                                CERTIFICATE OF SERVICE
            I hereby certify that I electronically filed the foregoing with the Clerk of the Court
 2
     using the CM/ECF system, which will send notification of such filing to the following:
 3

 4   Devin T. Theriot-Orr                        R. Andrew Free
     SUNBIRD LAW, PLLC                           THE LAW OFFICE OF R. ANDREW FREE
 5   1001 Fourth Avenue, Suite 3200              PO Box 9058
     Seattle, WA 98154-1003                      Nashville, TN 37209
 6   devin@sunbird.law                           andrew@immigrantcivilrights.com

 7   Attorney for Plaintiff                      Attorney for Plaintiff

 8   Joan K. Mell                                Mark Emery
     III BRANCHES LAW, PLLC                      NORTON ROSE FULBRIGHT US LLP
 9   1019 Regents Boulevard, Suite 204           799 9th Street, Suite 1000
     Fircrest, WA 98466                          Washington, D.C. 20001
10   joan@3brancheslaw.com                       mark.emery@nortonrosefulbright.com

11   Attorney for Defendant                      Attorney for Defendant

12   Andrea D’Ambra                              Charles A. Deacon
     NORTON ROSE FULBRIGHT US LLP                NORTON ROSE FULBRIGHT US LLP
13   1301 Avenue of the Americas                 300 Covent St.
     New York, NY 10019                          San Antonio, TX 78205
14   andrea.dambra@nortonrosefulbright.com       charles.deacon@nortonrosefulbright.com

15   Attorney for Defendant                      Attorney for Defendant

16          DATED at Seattle, Washington this 13th day of June, 2018.

17                                                    s/ Sheila Cronan
                                                     Sheila Cronan, Paralegal
18                                                   Schroeter Goldmark & Bender
                                                     810 Third Avenue, Suite 500
19                                                   Seattle, WA 98104
                                                     Tel: (206) 622-8000
20                                                   Fax: (206) 682-2305
                                                     cronan@sgb-law.com
21

22

23

24

25   FIRST AM. CLA SS A CTION CO MP L.                    SCHROETER GOLDMARK & BENDER
                                                             810 Third Avenue ● Suite 500 ● Seattle, WA 98104
     (17-cv-05769-RJB)  7                                      Phone (206) 622-8000 ● Fax (206) 682-2305

26
